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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

NEWNAN DIVISION

HELEN R. ESTEBAN, as
Executrix of the ESTATE
OF EDNA P. CRAWFORD,

_ Plaintiff,

CASE NO. 3:08-CV-138-JTC
Vv.
REGIONS BANK,
Defendant.

 

 

DEFENDANT REGIONS BANK'S
MOTION FOR PARTIAL SUMMARY JUDGMENT

Pursuant to Federal Rule of Civil Procedure 56, Defendant Regions Bank
("Regions") moves for partial summary judgment on the claims asserted against it by
the Estate of Edna P. Crawford (the "Estate") as follows:

e To the extent the Estate claims that Regions was knowingly complicit in the
alleged misappropriation of funds from the account of its decedent, Regions is
entitled to summary judgment because no evidence sufficient to prove the claim
is found in the record;

e To the extent the Estate claims that Regions improperly paid transactions
against the account of its decedent while the decedent was mentally
incapacitated, Regions is entitled to summary judgment because the claim is
barred by O.C.G.A. § 11-4-405(a);

e To the extent the Estate claims that Regions improperly debited the account of
its decedent for unauthorized ATM and debit card transactions, Regions is
entitled to summary judgment because the claim is barred by the statute of
limitations;
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e To the extent the Estate claims that Regions improperly paid unauthorized
checks drawn on the account of its decedent, Regions is entitled to partial
summary judgment because any claim based on checks paid prior to September
26, 2003 is barred by the statute of limitations;

e To the extent the Estate claims that Regions improperly paid unauthorized
checks drawn on the account of its decedent, Regions is entitled to partial
summary judgment because, as to most checks that the Estate contends are
forgeries, the Estate and its decedent failed to give Regions timely notice of the
unauthorized signatures; and

e To the extent the Estate claims that Regions improperly transferred funds from
the account of its decedent to other accounts, and that Regions improperly
permitted the account of its decedent to be pledged as collateral for debt,
Regions is entitled to summary judgment because there is no evidence that such
transactions occurred with respect to the account at issue.

For these reasons, and for the reasons set forth in the accompanying Memorandum of
Law, Regions is entitled to summary judgment on all claims, except the claim that

Regions paid without authority Check Nos. 3257 and 3258. Accordingly, the Court

should enter partial summary judgment for Regions.
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This 22™ day of June, 2009.

PARKER, HUDSON, RAINER & DOBBS, LLP

By: /s/ Keith R. Blackwell
William J. Holley, II
State Bar No. 362310
Keith R. Blackwell
State Bar No. 024493

1500 Marquis Two Tower

285 Peachtree Center Avenue Attorneys for Regions Bank
Atlanta, Georgia 30303

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CERTIFICATE OF SERVICE
Thereby certify that I have this day electronically filed the within and foregoing
MOTION FOR PARTIAL SUMMARY JUDGMENT with the Clerk of Court
using the CM/ECF system which will automatically send e-mail notification of such
filing to the following attorney of record:
Justin B. Grubbs, Esq.
123 North Hill Street
Suite 200
P.O. Box 39
Griffin, Georgia 30224
I have also deposited a true copy of same in the U.S. Mail, proper postage
prepaid, addressed to the following attorney of record:
Howard P. Wallace, Esq.
P.O. Box 217

859 Woodland Drive
Griffin, Georgia 30224

This 22" day of June, 2009.

/s/ Keith R. Blackwell
Keith R. Blackwell

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